Mamie Tiber
Name -
fo Bx 185

Mailing address .
‘Rope- Bay, AK 919607
City, State, Zip he, te
( 907) 7DE_ GIAT

Telephone

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

hie S, Zin ker )

(Enter full name of plaintiff in this action)

 

 

 

Case No. 3.\%¥C Vv OO\SS- SLG
Plaintiff, (To be supplied by Court)
vs.
«Stake of Absk. Wc Ige bac Martscn_, COMPLAINT UNDER
_ wa 7 THE CIVIL RIGHTS ACT
State of Alaslta OCS, Amy Padi! _. 42 U.S.C. § 1983
ICWA, Mildred Metcalf _., (NON-PRISONERS)
(Enter fall names of defendant(s) in this action.
Do NOT use et al.)
Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional authorities, please list them below:

Alatie Village of. Hexpe- Kay
B. Parties

1. Plaintiff: This complaint alleges that the civil rights of Name Jin Ke
(print your name)

who presently resides at_/ (30x 35, Pheer Fass _ HK FICO

ailing address)

were violated by the actions of the individual(s) named below.

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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

Defendant No. 1, Enc Me rts on is a citizen of

- (name) | ;
Ala sla , and is employed as a Alasks Cosinef c hedlgz.

(state) (defendant’ s government position/title)”

X This defendant personally participated in causing my injury, and | want money
damages.

OR
The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

 

 

Defendant No. 2, Any Fat! is a citizen of
, and is employed as a tive of Childrens Serle §
(state) (defendant's government position/title)

This defendant personally participated in causing my injury, and | want money
damages.
OR
____The policy or custom of this officials government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

Defendant No. 3, Mildred Me: te. phe is a citizen of

(name

 

Alaska , and is employed as a ( Retirecd ) TCWA
(state) (defendant’ s government position/title)

This defendant personally participated in causing my injury, and | want money
damages.
OR
____The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename
the claims, “Claim 4,” “Claim 5, etc.”).

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Claim 1: On or about April vy - August oid , my civil right to
(Date)Y

Have a Caseplen for beuntication

(due process, freedom of relfgion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by Enc  Martson

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):

 

    

Child Promen dh ts Chavita ; luho iS a jpative CAJd enrolled
th_-the Native Village of Hepat Lay; Gnd Not ALlowtns
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Feyenitication,

ZL hoe Filed a2 Motion nod ty Custly and Visiiten
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of Compledron of ohfhrent Aednents to regain CuStedy ;
Gnd Ene Marton iS net ACKnowled gna fe Cert Beaks:
To this dow, Tam _ Shi) Separated tom My Sit.

Ke ul Choise [ta-thor) LU4S _ chain KC King for ~S days
Qrd st // St awarele ol Custdy of my Son,

 

 

 

 

 

 

 

 

 

 

 

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Claim 2: On or about Apr! a7 = Frcgu st DIY , my civil right to

(Date)

have a Caseplan Be fee rato

(due process, freedom of réligion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by Alay fot I,

“(Name of tHe specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

 

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granting Se titre CuStedy al Amonde
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abou any Court hearings regarell my my son ih BAY
ancl the State Cart let me “Ge aA Jehan ld,
Amy Pohl oti’) think Kaul Chavite heeded +
Oy hog, theatne xt Cen Ar ough he WAS binge
Shan bins ‘and Vet allowed brm 4 Keep My Son «

 

 

 

 

 

 

 

 

 

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Ciaim_3: On or about Apal oly , my civil right to

(Date) fn .
have 4 (Caseplan tor _prerenificatio

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by Wii dred Ve4cal £
° (Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3.

happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.):

Ln Apr QWY, LT frst Jost fy Stn ftmmde (haurn
DoB Zhou it, We we tobeal nein bes @rioiled iin the.
Mati Vilage CF Hooper Boy, Mildred Metralt, who was
Hhe Thdiap itd he Phy Dat Ser alist , rece} ved the
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did she devs /op Gny Kind of caseplan’ ter teunibcaticn
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ot my Son Gnd OXped ite this Case,

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Called “the  Poljce even though JT wont tr her fr
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State what

 

 

 

 

 

 

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? Yes No

2. lf your answer is “Yes,” describe each lawsuit.
a. Lawsuit 1:

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

b. Lawsuit 2:

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

F. Request for Relief
Plaintiff requests that this Court grant the following relief:
1. Damages in the amount of $_|O . O00, OOO

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2. Punitive damages in the amount of $ [O, 060, 00 2
3. An order requiring defendant(s) to Pay Sor the damages Caused
4. A declaration that

5. Other:

 

Plaintiff demands a trial by jury. A Yes No

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff
in the above action, that s/he has read the above civil rights complaint and
that the information contained in the complaint is true and-correct.

Executed at Anchorage, Klas a on le = oolS

(Location) (Date)

—f\We OM f tok

(Plaintiff's Original Signature)

 

 

Original Signature of Attorney (if any) (Date)

 

 

 

Attorney’s Address and Telephone Number

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